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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------X
 DR. DEBORAH L. WORTHAM as Superintendent of
 the Roosevelt Union Free School District, ROSE                                 DOCKET NO.:
 GIETSCHIER, President of the Roosevelt Union Free
 School District Board of Education, THE BOARD OF
 EDUCATION OF THE ROOSEVELT UNION FREE
 SCHOOL DISTRICT, ROOSEVELT UNION FREE
 SCHOOL DISTRICT and STUDENTS 1-5 for
 themselves and class representatives,                                          JURY DEMAND
 for themselves and for itself and on behalf of its
 students (John and Jane Does 1-60 being
 student victims whose names are withheld for privacy
 purposes), staff and community,
                                                                             CLASS ACTION COMPLAINT
                                                 Plaintiffs,

                             -against-

 WANTAGH UNION FREE SCHOOL DISTRICT,
 LYNBROOK UNION FREE SCHOOL DISTRICT and
 NASSAU COUNTY PUBLIC HIGH SCHOOL
 ATHLETIC ASSOCIATION (SECTION VIII),

                                                 Defendants.              TRIAL BY JURY IS DEMANDED
 ---------------------------------------------------------------------X

          PLAINTIFFS, DR. DEBORAH L. WORTHAM as Superintendent of the Roosevelt Union

 Free School District, ROSE GIETSCHIER, President of the Roosevelt Union Free School District

 Board of Education, THE BOARD OF EDUCATION OF THE ROOSEVELT UNION FREE

 SCHOOL DISTRICT, ROOSEVELT UNION FREE SCHOOL DISTRICT ROOSEVELT UNION

 FREE SCHOOL DISTRICT and STUDENTS 1-5 for themselves and for itself and on behalf of

 its students (John and Jane Does 1-60 being student victims whose names are withheld for

 privacy purposes), staff and community, by and through their attorneys, The Law Offices of
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 Frederick K. Brewington, state and allege the following claims against the above-named

 Defendants as follows:

                                  PRELIMINARY STATEMENT

        1.      This a civil action seeking relief for th e ac tion s of Defendants WANTAGH

 UNION FREE SCHOOL DISTRICT, LYNBROOK UNION FREE SCHOOL DISTRICT and

 NASSAU COUNTY PUBLIC HIGH SCHOOL ATHLETIC ASSOCIATION (SECTION VIII).

        2.      This action seeks to obtain equitable remedies, recover damages and other relief

 for pain and suffering caused by Wantagh, Lynbrook, and Section VIII's recklessness, failure

 to supervise, failure to discipline, and failure to intervene during instanc es of h arassment,

 violations of civil rights, and the intentional infliction of emotional distress.

        3.      D efen dan ts allowed spectators and people in the bleachers inside the

 gymnasium of Lynbrook High School to spit on, bark at, an chant racial slurs, at member of

 the of Roosevelt High School Cheerleaders, all in violation of 42 U.S.C. § §1983, 1985, Due

 Process Clause of the First and Fourteenth Amendments of the United States Constitution and

 the applicable New York State Laws.

        4.      Defendants WANTAGH UNION FREE SCHOOL DISTRICT, LYNBROOK

 UNION FREE SCHOOL DISTRICT, and NASSAU COUNTY PUBLIC HIGH SCHOOL

 ATHLETIC ASSOCIATION (SECTION VIII) are responsible for the actions, of their students,

 spectators and staff at the sporting events which they sponsor and hold at their facilities and

 are obligated intervene and prevent actions taken by their studen ts, spectators and staff and

 failed to prevent the outrageous, discrim inatory, vile, and racist attacks upon ROOSEVELT

 UNION FREE SCHOOL DISTRICT Student victims, and refused to protect the ROOSEVELT

 UNION FREE SCHOOL Student victims from subsequent harassment and vile discriminatory

 treatment, in violation of 42 USC §§1983, 1985, 1988 and the First and Fourteenth Amendments
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 to the United States Constitution.



                                JURISDICTION AND VENUE

        5.      This action is brought pursuant to 42 U.S.C. §1983, 1985, 1988 and the First and

 Fourteenth Amendments to the United States Constitution. Jurisdiction is founded upon 28

 U.S.C. §§ 1331, 1343 and 1344, and the aforementioned statutory and constitutional provisions.

 Plaintiff further invokes the pendent jurisdiction of this Court, pursuant to 28 U.S.C.A. § 1367,

 to hear and decide any and all claims arising under state law.

        6.      Prior hereto and within the proper time allotted by statute, Plaintiff filed a

 Notice of Claim in compliance with General Municipal Law Section 50 et seq. and CPLR 215,

 as against each municipal defendant (Exhibit "A"). More than 30 days have elapsed and

 defendants have failed and refused to pay or adjust same.

        7.      This Court is requested to exercise pendent jurisdiction over Plaintiffs' NYSHRL,

 New York Civil Rights Law and other State Law claims pursuant to 28 U.S.C. § 1367 because

 they arise from a common nucleus of operative facts with the federal claims and are so related

 to the federal claim as to form part of the same case or controversy under Article III of the

 United States Constitution.

        8.      Venue is appropriate in the Eastern District of New York, as the entity

 defendants WANTAGH UNION FREE SCHOOL DIS TRIC T, LYNBROOK UNION FREE

 SCHOOL DISTRICT, AND NASSAU COUNTY PUBLIC HIGH SCHOOL ATHLETIC

 ASSOCIATION (SECTION VIII)) and the Plaintiffs in question are located in Nassau County.

 Upon information and belief the other Defendants also reside and maintain their offices in the

 Eastern District of New York and the situs of the incident giving rise to these claims occurred

 in the Eastern District of New York.

                                            PARTIES

        9.      At all times relevant, ROOSEVELT UNION FREE SCHOOL DISTRICT is a

 municipal entity and public school of the United States, has been a resident of Roosevelt, New

 York, County of Nassau.
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        10.     DR. D EBORAH L. WORTHAM is the Superintendent of the Roosevelt Union

 Free School District and is the chief administrator of said D istrict with the responsibility to

 oversee th at educ ation, care, well being and proper treatment of the students, staff and

 residents of the District she serves.

         11.     ROSE GIETSCHIER, is the President of the Roosevelt Union Free School District

 Board of Education, and is a duly elected Trustee of the that Board and resides in the

 community of Roosevelt.

         12.     THE BOARD OF EDUCATION OF THE ROOSEVELT UNION FREE

 SCHOOL DISTRICT is the duly elected body of trustees charged with the oversight and

 governance of the Roosevelt Union Free School District as well as caring for the students, staff

 and residents of the District by whom they were elected.

        13.     ROOSEVELT UNION FREE SCHOOL DISTRICT STUDENTS 1-5 on behalf of

 a Class of all Roosevelt S c h ool District students, parents, staff and administrators who were

 subjected to the detrimental, vulgar and racist treatm ent during include but are not limited

 to occurrences at the Lynbrook Senior High School, located at 9 Union Avenue, Lynbrook, NY,

 11563, on or about February 15, 2023 and at Wantagh Senior High School located at 3297

 Beltagh Ave, Wantagh, NY 11793, on or about February 17, 2023 and thereafter through the

 actions and inactions of Lynbrook, Wantagh and NCPHSAA their personnel, their spectators,

 their students, their em ployees, their agents, their charges, their decision makers and their

 administrators in violation of § 1983 and the NYSHRL.

        14.     At all times relevant, Students 1 through 5, were students and residents of the

 Roosevelt School District and representatives of John and Jane Does 1-60 student victims, are

 students, staff and community members, and are, residents of Roosevelt School District,

 Roosevelt, New York, County of Nassau.

        15.     Defendant WANTAGH UNION FREE SCHOOL DISTRICT, (hereinafter

 "WUFSD") is a municipal entity and public school, located within the town of Wantagh,

 County of Nassau.
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        16.     Defendant LYNBROOK UNION FREE SCHOOL DISTRICT, (hereinafter

 "LUFSD")is a municipal entity and public school, located with the town of Lynbrook, New

 York, County of Nassau.

        17.     Defendant    NASSAU      COUNTY PUBLIC          HIGH     SCHOOL       ATHLETIC

 AS S OC IATION (Section VIII) (hereinafter “NCPHSAA” or “Section VIII”) is a municipal

 entity, with its offices in Garden City, New York, County of Nassau.

        18.     Section VIII NCPHSAA, is responsible for oversight of all interscholastic athletic

 events in Nassau County, also failed to take any preemptive acts or any form of intervention

 to prevent or stop or curtail the ongoing abuse and acts of intimidation and disrespect of the

 Roosevelt students which was based on race and color.

        19.     Despite knowing that this occurs in schools throughout Nassau County toward

 players of color, at no time was this level of disrespect addressed in any manner by any adult

 employed to supervise and/or educate the children in their charge. This is in direct violation

 of its own rules and code of ethics.

                                   FACTUAL ALLEGATIONS

        20.     The Roosevelt Union Free School District (RUFSD) is a pub lic school district

 serving much of the Greater Roosevelt area in the Town of Hempstead, in Nassau County, on

 the South Shore of Long Island, in New York, United States. The district primarily serves the

 unincorporated hamlet and CDP of Roosevelt, in addition to small portions of the

 unincorporated hamlet and CDP of Baldwin and the Incorporated Village of Freeport.

        21.     As of the 2020-21 school year, there were 3,180 students enrolled in the district.

 Of those 3,180 students, 1,691 (53%) were males wh ile 1,489 (47%) were females. The racial

 makeup of the students in the district during the 2020-21 school year was 42% Black or African

 American (1,345 students), 0% White (2 studen ts), 0% Asian/Native Hawaiian/Other Pacific

 Islander (11 students), 0% Indian/Alaska Native (0 students), and 0% Multiracial (8 students).

 57% of enrolled students were of Hispanic or Latino heritage of any race (1,814 students)

        22.     On February 15, 2023 during a post season playoff basketball game at Lynbrook

 High School between Roosevelt High School Boys Basketball Team and Lynbrook High School
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 Boys Basketball Team, a disturbance occurred.     Spectators along with people in the bleachers

 inside the gymnasium of Lynbrook High School were spitting on, bark in g at, and chanting

 racial names including but not limited to the word "nigger" at cheerleaders of Roosevelt High

 School.

        23.     While this behavior by spec tators and people in the bleachers was happening,

 onlookers to th ese improper and heinous acts, which included supervisory personnel from

 Lynbrook High School did not intervene until staff from Roosevelt High School stressed to the

 Lynbrook Athletic Director that the matter be dealt with.

        24.     To the contrary, with the exception of the expulsion of certain students from the

 premises, repercussions have not been tak en to address and prevent this level of abuse and

 complete lack of "sportspersonship".

        25.     The racial comments and action s of Spectators and people in the bleachers

 endured by cheerleaders of Roosevelt High School were racist, demeaning, degrading, and

 intended to intimidate and dehumanize the students from Roosevelt High School .

        26.     Following the incident that occurred at Lynbrook High School on February 15,

 2023, the students of Roosevelt High School were again subjected to improper and racially

 charged heinous acts.

        27.     On February 17, 2023, at Wantagh High School, the Roosevelt High School Boys

 Basketball Team was competing in the second round post season playoff athletic competition.

        28.     When the players from Roosevelt Boys Basketball Team were introduced, a large

 group of young white men dressed in white t-shirts and sweat-shirts stood up in the bleachers,

 and started booing and, as depicted in the photo below, physically turned their backs to the

 basketball court as a sign of disregard and disrespect.
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        29.     The cheerleaders from Roosevelt High School were verbally abused, referred

 to as "niggers", subjected to vociferous booing, as well as comments being hurled at the players

 and cheerleader such as " Who's your daddy" and were being flashed middle fingers

 throughout the game.

        30.    During the game, the use of the word "nigger" was regularly made by players

 and spectators towards students of Roosevelt High School and th ere was no intervention by

 officials, supervisors or staff from the Wantagh School District or Section VIII NCPHSAA to

 stop such behavior.

        31.    Section VIII NCPHSAA, is responsible for oversight of all interscholastic athletic

 events in Nassau County and at these two events, it failed to take preemptive acts or any form

 of intervention to prevent or stop or c urtail the ongoing abuse and acts of intimidating,

 threatening, demeaning, and disrespecting the Roosevelt students which was based on race
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 and color.

        32.     Furtherm ore, at no time was this level of disrespect addressed in any manner

 by an adult employed to supervise and/or educate the children in their charge at Wantagh

 High School.

        33.     There was never an attempt made or effort put forth by an employee of Wantagh

 School District to make the overtly disrespectful behavior stop.

        34.     The racially charged verbally abusive statement "Who's your daddy" was made

 durin g the game and went unchallenged with no intervention by personnel from Wantagh

 School District.

        35.     When the basketball game ended, the large group of young white men dressed

 largely in wh ite t-shirts and sweat-shirts rushed the playing court and prevented the

 traditional hand shaking between the two teams.

        36.     This action by the large group of young white men created a mob like

 environmen t th at was uncontrolled and became a safety concern for the supervisors from

 Roosevelt as well as both players and cheerleaders from Roosevelt High School and visitors.



        37.     Th e safety of the Roosevelt players was a priority of their head coach Lydell

 Smith who felt the need at the moment when his team lined up to shake hands to congratulate

 Wantagh on their victory and as they waited for Wantagh 's c oaches and players, the rushed

 the basketball court, then he decided to tell his team (Roosevelt players) to head to the locker

 room for safety reasons and in structed his assistant coach Taurus Reed to stay behind and

 shake Wantagh's coaches and players hands.

        38.     The large group of young white men who created a mob like environment

 consisted of students from both Lyn b rook High School and Wantagh High School in a

 collaboration aimed to intimidate, threaten, demean, and disrespect the Roosevelt students

 based on race and color.

        39.     Lynbrook, Wantagh and Section VIII NCPHSAA their employees, agents,

 supervisors, administrator, officials and decision makers failed to address crude and abusive
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 language and gestures by players, spec tators, and others which aimed at and directed to

 Roosevelt students and spectators.

        40.     Once informed of the outrageous actions tak en against the Roosevelt students

 and spectators, Lynbrook, Wantagh and Section VIII NC PHS AA failed to take prompt and

 appropriate action to address the numerous clear violations of its rules, policies and

 procedures and the laws addressing acts of racial and color discrimination.

        41.     As a result of the racially charged incidents that occurred at both Lynbrook High

 School and Wantagh High School, the students of Roosevelt High School sustained m ental

 anguish, mental pain, psychological trauma, and loss self worth.

        42.     The following statements are from students of Roosevelt High School (including

 prospective Class members and representatives) and describes their experiences and th ose

 which were experienced by members of the class explaining how they felt and what occurred

 on February 17, 2023 at Wantagh High School:

        •       I felt intimidated by fans and felt harassed and it really messed me up mentally

 once the racial slurs were being said in the stands and on the court. I specifically     heard the

 "N word" from player with the number 13 on his Jersey on opposing team.

        •       I felt that the school was racially motivated. I h eard trash talk but the

 environment as just weird. I heard the "N word" often times.

        •       When we walked in the gym the place was norm al at first but then when the

 game    started there was a lot of racial slurs throughout the game and it was a different type

 of disrespect during the game, I heard the "N word" many times.

        •       The fans were saying crazy things like racist, like being racial. They didn't shake

  our hands after the game... saying disrespectful stuff in the stands; chanting

                "Who's your daddy" and saying the "N word".

        •       The second game started we felt a different type of energy because our team has

 been in hostile environments before, but it just felt off. I specifically heard racial   slurs like

 the "N word" and "Where is your daddy". The crowd was also yellin g               out "Who's your

 daddy?" Also, after the game I felt totally unsafe with how the     crowd stormed the court and
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bum-rushed us and the team.

         •      The second we entered the gym it was very aggressive and hostile environment.

   Th e introduction alone there was very unsportsmanlike conduct. Racial slurs were being

shouted out by the fans, very aggressive and just got targeted. While       on the bench I heard

someone call me Ramen guy. Aggressive talk and just made         us feel less, especially since we

lost and that just made me feel like garbage. There's a difference between talking trash and

what they did because they took it to a whole other level.

         •      We felt a different type of hatefulness as soon as we walk ed in an d when the

game started.

         43.    The wrongful actions have a historical base as same have been ongoing for a

period of time, however the most recent acts include, but are n ot limited to, occurrences at

Lynbrook High School on February 15, 2023 and at Wantagh High School on February 17, 2023

and thereafter through the actions and inactions of Lynbrook, Wantagh and NCPHSAA their

personnel, their spectators, their studen ts, their employees, their agents, their charges, their

decision makers and their administrators.

         44.    January 24, 2024 Dr. Deborah L. Wortham employed as a superintendent at the

Roosevelt Union Free School District, and appeared as a witness on behalf of Roosevelt Union

Free School District at 50-h Hearing testified to the fact that coaches, supervisors, and athletic

director are responsible for supervising the students, the Roosevelt athletes during away

games.

         45.    Dr. Deborah L. Wortham was informed by staff m embers of Roosevelt High

School who attended basketball game at Lynbrook High School on February 15th, 2023 about

when the spectators, the Lynbrook cheerleaders spoke negatively using unacceptable terms

towards Roosevelt cheerleaders and spit on them.

         46.    Th e Roosevelt High School staff members that attended basketball game at

Lynbrook High School on February 15th, 2023 and informed the superintendent of Roosevelt

High School Dr. Worth am were Cheerleading coach Ms. Rochelle Gooding, Board member

Ms. Susan Gooding, and Athletic director Eamonn Flood.
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       47.    Roosevelt High School Athletic director Eamonn Flood informed Dr. Wortham

that he met with Lynbrook High School Athletic director about the incident that took place at

Lynbrook High School on February 15, 2023 and the outcome that Ms. Wortham was told is

that one or two students that were involved in the incident were suspended for one game.

       48.    Roosevelt High School Athletic director Eamonn Flood submitted a report about

the incident th at occurred at Lynbrook High School on February 23, 2023 to Dr. Wortham,

which contain the names of the High School students who were calling Roosevelt cheerleaders

offensive names which included Lynbrook students as participants.

       49.    Dr. Wortham testified to the fact that in the Notice of Claim it states that

behavior was only addressed after staff from Roosevelt sought out the Lynbrook athletic

direc tor wh ic h she deemed to be factual due to the suspensions of a couple of Lynbrook

students.

       50.    Dr. Wortham testified that she was informed by Roosevelt High School staff

members about the incident that occurred on February 17, 2023, at Wantagh High School. The

staff members were the sam e Roosevelt staff members that informed her about the incident

at Lynbrook High School. Board member Mrs. Susan Gooding, Cheerleading coach Mrs.

Rochelle Gooding, and athletics director Mr. Eamonn Flood who all also attended the

basketball game at Wantagh High School on February 17, 2023.

       51.    Roosevelt Superintendent Dr. Wortham was informed that the group of white

male students who wore T-shirts en masse and turned their backs on the Roosevelt students

while they were being introduced, the shouting of who's your daddy, calling the students,

again, nigger and th e appearance of students from Lynbrook from two days earlier, at

Wantagh High School b asketball game participating in the heinous acts against Roosevelt

students.

       52.    Dr. Wortham superin ten dent of Roosevelt High School made reference to a

photo of students from Lynbrook High and Wantagh High School turning their backs to the

court as Roosevelt basketball team was being introduced and the adults surrounding them did

not engage with it.
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       53.     Human Resources Eric Nezowitz and Roosevelt athletics director Eamonn Flood

investigated the incident that occurred at Wantagh High School on February 17, 2023. Mr

Nezowitz and Mr. Flood spoke with coaches and supervisors who were at the Wantagh High

School on February 17, 2023 as well as viewed videos of this incident.

       54.     Human resources conducted a full investigation . They talked to coaches.

Coaches and students submitted statements regarding the incident that occurred on February

17, 2023. Human Resources Eric Nezowitz submitted reports to Roosevelt superintendent Dr.

Wortham since he worked in conjunction with Roosevelt athletics director Mr. Flood on the

investigation of this incident at Wantagh High School on February 17,2023.

       55.     Roosevelt superintendent Ms. Wortham spoke with Wantagh High School

superintendent several days after incident at Wantagh High School. Mr. Flood, Roosevelt

ath letics director spoke with Wantagh athletic director regarding incident that occurred on

February 17, 2023 at Wantagh High School.

       56.     Superintendent of Roosevelt High School Dr. Wortham testified to the fact that

Wantagh school district witnessed th is b ehavior by the students but did not stop it and

behavior persisted throughout the entire game.

       57.     As a result of the ab ove n egligence and the consequent harm suffered by the

infant Plaintiffs, Plaintiff seeks compensatory damages in the am ount of TWO MILLION

($2,000,000.00) DOLLARS, and any other such relief as this Court may deem appropriate.



                               CLASS ACTION ALLEGATIONS

       58.     This class action is brought pursuant to Federal Rules of Civil Procedure 23(a), (b)(2),

and (c)(4) seeking liability-phase injunctive and declaratory relief on behalf of a Class of all

Roosevelt School District students, parents, staff and administrators who were subjected to the

detrimental, vulgar and racist treatment during include but are not limited to occurrences at the

Lynbrook Senior High School, located at 9 Union Avenue, Lynbrook, NY, 11563, on or about

February 15, 2023 and at Wantagh Senior High School located at 3297 Beltagh Ave, Wantagh, NY
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11793, on or about February 17, 2023 and thereafter through the actions and inactions of Lynbrook,

Wantagh and NCPHSAA their personnel, their spectators, their students, their employees, their

agents, their charges, their decision makers and their administrators in violation of § 1983 and the

NYSHRL. Plaintiffs reserve the right to amend the definition of the Class based on discovery or

other factual or legal developments.


        59.      Plaintiffs also bring this Class Action pursuant to Federal Rules of Civil Procedure

23(a) and (b)(3) seeking monetary damages and other make- whole relief on behalf of a Class of all

non- white applicants seeking to be treated in a non-discriminatory fashion and not be subjected to

abuse and race and color based discrimination in violation of §§ 1983, 1985 the NYSHRL, New

York State Civil Rights Law and other laws of the State of New York.             Plaintiffs reserve the right

to amend the definition of the Class based on discovery or other factual or legal developments.


        60.      Students 1 through 5 are members of the Class they seeks to represent.


        61.      The members of the Class identified herein are so numerous that joinder of all

members is impracticable.


        62.       There are questions of law and fact common to the Class, and these questions

predominate over any questions affecting only individual members, including:


        (a)      Whether Defendants' policies or practices for conducting sporting events and

addressing the wrongful, abusive and discriminatory actions of their students, spectators, officials,

and staff has failed to address the actions of discrimination against those in the class;


        (b)      Whether Defendants' actions and failures in allowing the discriminatory, racist and

abusive actions by their students, spectators, officials, and staff violate §§ 1983, 1983, NYSHRL,
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New York State Civil Rights Law and other state laws;


        ©        Whether Defendants' policies, actions and failures have a disparate impact on

Plaintiffs and the class they represent; and


        (d)      Whether equitable remedies, injunctive relief, and other relief for the Class are

warranted to address the discriminatory effects of Defendants' misconduct.


        63.      The claims of Students 1through 5 are typical of the claims of the Class.


        64.       Dr. Wortham, Ms. Gietschier, and Students 1through 5 will fairly and adequately

represent and protect the interests of the members of the Class.


        65.       Plaintiff has retained counsel competent and experienced in complex class actions,

discrimination litigation, and the intersection thereof.


        66.      Class certification is appropriate pursuant to Federal Rule of Civil Procedure 23(b)(2)

because Defendants have acted and/or refused to act on grounds generally applicable to the Class,

making appropriate declaratory and injunctive relief with respect to Plaintiff and the Class as a

whole. The Class Members are entitled to injunctive relief to end Defendants' common, uniform,

unfair, and discriminatory policies and practices.


        67.       Class certification is also appropriate pursuant to Federal Rule of Civil Procedure

23(b)(3) because common questions of fact and law predominate over any questions affecting only

individual members of the Class, and because a class action is superior to other available methods

for the fair and efficient adjudication of this litigation. The Class Members have been damaged and

are entitled to recovery as a result of Defendants' common, uniform, unfair, and discriminatory
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policies and practices.



                      AS AND FOR COUNT ONE
     AGAINST DEFENDANTS WANTAGH UNION FREE SCHOOL DISTRICT,
   LYNBROOK UNION FREE SCHOOL DISTRICT and NASSAU COUNTY PUBLIC
           HIGH SCHOOL ATHLETIC ASSOCIATION (Section VIII)
        EQUAL PROTECTION VIOLATION, 14TH AMENDMENT 42 U.S.C. §1983

        68.     Plaintiffs repeat, reiterates and religious each and every allegation c ontained in

Paragraphs "1" through "67" of this Complaint, inclusive, with the same full force and effect

as if fully set forth herein.

        69.     Defendants WANTAGH UNION FREE SCHOOL DISTRICT (hereinafter

"WU FS D " ), LYNBROOK UNION FREE SCHOOL DISTRICT (hereinafter "LUFSD") and

NASSAU C OUNTY PUBLIC HIGH SCHOOL ATHLETE ASSOCIATION (SECTION VIII)

(hereinafter "NCPHSAA") failed to address Plaintiff's complaints of discriminatory, and racist

treatment by individuals on their premises in attendance at games held at their schools.

        70.     All relevant actions taken by Defendants and those with delegated authority to

act on their behalf were taken under color of law.

        71.     Defen dants have engaged in an intentional and systematic policy, pattern,

and/or practice of discrimination against Plain tiff and the Class in violation of the Equal

Protection Clause through their unwillingness and failure to address Plaintiff's complaints of

discriminatory, and racist treatment by individuals on their premises in attendance at games

held at their schools., including by, among other things:

        (a)     Adopting the abusive, vocative, discriminatory and race based actions of their student,
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spectators, staff and allowing and creating an culture and atmosphere that had and was known to

have a disparate and disproportionate impact on Plaintiffs which was on the basis of race and color;

and

        (b)     And failing to follow their on rules and regulations to prevent, address and combat

those racist and discriminatory actions, statements and conspiracies which were aimed at and

intended to harm Plaintiffs on the basis of race and color.

        72.     Defendants WUFSD, LUFSD, and NCPHSAA, were required under the Due

Process Clause of the Fourteenth Amendment to the United States Constitution to provide

reasonable safety and care of students in their control and custody, including but not limited

to infant Plaintiffs.

        73.     While attending basket ball games at each Defen dants' schools, Plaintiffs were

threatened, called racial slurs such as "Nigger"; "Whose your daddy?"; "Where's your daddy?".

The crowd stormed the basketball court, and "bum-rushed the team."

        74.     Although aware of the discriminatory treatment of Plaintiffs, Defen dan ts

WU FS D , LUFSD, and NCPHSAA failed to take appropriate action against those individuals

who behaved in this vile manor.

        75.     At all times relevant to the claims in this matter Defendants WUFSD, LUFSD,

and NCPHSAA as state actors, had a duty to protect infant Plaintiffs and provide an

environment of care and safety in which to attend a public school function, without fear to

attend a sporting event.

        76.     As a result of the above n egligence and the consequent harm suffered by the
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infant Plaintiffs, Plaintiffs seek compensatory damages in the amount of TWO MILLION

($2,000,000.00) DOLLARS, and any other such relief as this Court may deem appropriate.

                            AS AND FOR COUNT TWO
         AGAINST DEFENDANTS WANTAGH UNION FREE SCHOOL DISTRICT
  (hereinafter "WUFSD"), LYNBROOK UNION FREE SCHOOL DISTRICT (hereinafter
 "LUFSD") and NASSAU COUNTY PUBLIC HIGH SCHOOL ATHLETE ASSOCIATION
                     (SECTION VIII) (hereinafter "NCPHSAA")
                                 42 U.S.C. §1985

        77.    Plaintiff repeats, reiterates and religious each and every allegation contained in

Paragraphs "1" through 76" the Complaint, inclusive, with the same full force and effect as if

fully set forth herein.

        78.   The defendants, WANTAGH UNION FREE SCHOOL DISTRICT (hereinafter

"WUFSD"), LYNBROOK UNION FREE SCHOOL D ISTRICT (hereinafter "LUFSD") and

NASSAU COUNTY PUBLIC HIGH SCHOOL ATHLETE ASSOCIATION (SECTION VIII)

(h ereinafter "NCPHSAA") , visited unwanted, offensive and harmful abuse and race based

actions against Plaintiffs and did so through agreements of their students and with the

knowledge of their administrators and supervisors and allowed same to occurs knowing that

was intended to cause harm to Plaintiffs, and was done because and on account of the race of

Plaintiffs.

        79.    Upon information and belief th e ac tions taken at the Wantagh game by the

persons who turned their backs, cursed and used racial slurs was coordinated by and between

members of the Lynbrook school district and the Wantagh school district.
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       80.     Defendants, studen ts, spectators from WANTAGH UNION FREE SCHOOL

DISTRICT (hereinafter "WUFSD"), LYNBROOK UNION FREE SCHOOL DISTRICT

(hereinafter "LUFSD")did refer to Plaintiffs as a "nigger" and other racially derogatory names

wh ile agreeing to and then carrying out actions demonstrating hatred, disrespect an d

disregard for Plaintiffs.   S aid ac ts were motivated by race and were marked by the overt

statements and actions Defendants to support the motivation.     NCPHS AA, agreed to allow

this to h appen and even in the face of the wrongful acts failed to take actions that would

address the known conspiracy that was taking plac e, th ereby fostering the wrongful actions

which were planned and did occur.

       81. The Plaintiffs did not in any way provoke or instigate such an attack, and did not

create any threat of harm to the defendants, who acted in concert and conspiracy to commit

this violation of th e rights of Plaintiffs.    Defendants were acting intentionally and with

indifference to the harm and injury which would be cause to Plaintiffs.

       82. As a direct and proximate cause of the aforesaid defendants' actions, agreements,

abusive treatment and conspiracy Plaintiffs did suffer serious embarrassment, intimidation,

emotional injuries, psychological distress, pain and suffering, violation of rights and other

permanent injuries not yet fully ascertained.

       83.     As a result of th e above negligence and the consequent harm suffered by the

infant Plaintiffs, Plaintiffs seek compensatory damages in the amount of TWO MILLION

($2,000,000.00) DOLLARS, and any other such relief as this Court may deem appropriate.
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                                 AS AND FOR COUNT THREE
       AGAINST DEFENDANTS WANTAGH UNION FREE SCHOOL DISTRICT,
   LYNBROOK UNION FREE SCHOOL DISTRICT and NASSAU COUNTY PUBLIC
                 HIGH SCHOOL ATHLETIC ASSOCIATION (Section VIII)
                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS


        84.     Plaintiffs repeat, reiterates and religious each and every allegation contained in

Paragraphs " 1" through "83" of this Complaint, inclusive, with the same full force and effect

as if fully set forth herein.

        85.     The Defendants WUFSD, LUFSD, and NCPHSAA (Section VIII) sh ould have

known that their conduct of ( I ) failing to protect the infant Plaintiffs from racial attacks (ii)

refusing to tak e disc iplinary action after being informed that the infant Plaintiffs were

subjected to verbal racial slurs, and assaulted by students, and (iii) taking no measures to

protect the infant Plaintiffs from further attacks, and (iv) failing to address the racial

motivation that was apparent in th e aforesaid "assault," constituted extreme and outrageous

conduct, beyond the bounds of decency within a civilized society.

         86.    The Defendants WUFSD, LUFSD, and NCPHSAA (Section VIII) knew or should

have known that their conduct would cause extreme emotional distress to the infant Plaintiffs,

Yet, Defendants continued with their course of conduct, and failed to remedy the extreme

emotional distress that they k n ew an d/or should have known was being visited upon the

Plaintiffs.

        87.     As a result of the aforesaid outrageous conduct by the Defendants, the Plaintiffs,

and each individually, and collectively suffered extreme emotional distress, psychological

injuries, and physical symptoms, pain and suffering, resulting from the emotional distress that
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they endured at the hands of the defendants

       88.      As a result of the ab ove n egligence and the consequent harm suffered by the

infant Plaintiffs. Plaintiffs seeks c om pen satory damages in the amount of TWO MILLION

($2,000,000.00) DOLLARS, and any other such relief as this Court may deem appropriate

                         AS AND FOR A THIRD CAUSE OF ACTION
                     Violations under New York State Civil Rights Law § 40
                    (As against All Defendants Individually and Collectively)


       89.      The Plaintiff repeats, reiterates and religious each and every allegation contained

in paragraphs 1 through 88 of this Complaint with the same force and effect as though fully

set forth herein.

       90.      Upon the filing of this complaint a copy is being provided to the office of NYS

Attorney General with a request for that office to take action against Defendant.

       91.      The New York State Civil Rights Law § 4 0 -c which outlaws discriminatory

practices in places of public accommodation, states in relevant part:

             1 . All persons within the jurisdiction of this state shall be entitled to the equal
   protection of the laws of this state or any subdivision thereof.


             2. No person shall, because of race, creed, color, national origin, sex, marital
   status, sexual orientation, gender identity or expression, or disab ility, as such term is
   defined in section two hundred ninety-two of the executive law, be subjected to any
   discrimination in his or her civil rights, or to an y harassment, as defined in section
   2 4 0 .25 of the penal law, in the exercise thereof, by any other person or by any firm ,
   corporation or institution, or by the state or any agency or subdivision of the state.


       92.      On February 15, 2023 during a post season playoff basketball game at Lynbrook

High School between Roosevelt High School Boys Basketball Team and Lynbrook High School
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Boys Basketball Team, a disturbance occurred.   Spectators along with people in the bleachers

inside the gymnasium of Lynbrook High School were spitting on, barking at, an d c h an ting

racial names including but not limited to the word "nigger" at cheerleaders of Roosevelt High

School.

       93.    While this behavior by spectators and people in the bleachers was h appening,

onlookers to these improper and heinous acts, which included supervisory personnel from

Lynbrook High School did not intervene until staff from Roosevelt High School stressed to the

Lynbrook Athletic Director that the matter be dealt with.

       94.    To the contrary, with the exception of the expulsion of certain students from the

premises, repercussions have not been tak en to address and prevent this level of abuse and

complete lack of "sportspersonship".

       95.    The racial comments and actions of Spectators and people in the bleach ers

endured b y cheerleaders of Roosevelt High School were racist, demeaning, degrading, and

intended to intimidate and dehumanize the students from Roosevelt High School .

       96.    Following the incident that occurred at Lynbrook High School on February 15,

2023, the students of Roosevelt High School were again subjected to improper and racially

charged heinous acts.

       97.    On February 17, 2023, at Wantagh High School, the Roosevelt High School Boys

Basketball Team was competing in the second round post season playoff athletic competition.

       98.    When the players from Roosevelt Boys Basketball Team were introduced, a large

group of young white men dressed in white t-shirts and sweat-shirts stood up in the bleachers,

an d started booing and, physically turned their backs to the basketball court as a sign of
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disregard and disrespect., intimidating, making comments intending to demean Plaintiffs on

account of their race and color and otherwise physically creatin g fear of danger all of which

was directed toward Plaintiffs because of their race and color.

       99.     Defendants knew Plaintiffs’ race and color and were aware or should have been

aware of Plaintiff's intent to enter into fully participation in all aspec ts of the activities at the

premises controlled by Defendants and to receive the equal, fair an d n on-discriminatory

treatment and be treated equally and provided equal opportunity as Caucasian persons.

       100.    Plaintiff was denied full an d equal accommodations, advantages, facilities and

privileges as provided by Defendants to others other then Plaintiffs.

       101.    As a consequence of Defendants' wrongful actions, callous indifference,

negligent behavior and violation of state and federal laws, Plaintiffs were intimidated, abused

and prevented from receiving equal accommodations as provided to C aucasian persons and

was prevented from engaging in tran sac tion s and business on equal terms as Caucasian

persons. Instead Plaintiffs were subjected to abuse, threats, mental anguish, great fear,

embarrassment, personal humiliation, degradation and loss of the opportunity to engage in

the ability to engage in the sporting and other activities free of abuse, mistreatment and threats

related to their race and color. All of these rights are secured to Plaintiff under New York State

Civil Rights Law § 40.

       102.    By reason of the foregoing, the Plaintiff has incurred damages in the sum in

excess of $2,000,000.00, plus punitive damages, costs, and attorney fees.
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                     AS AND FOR A FOURTH CAUSE OF ACTION
       Violations under New York State Executive Law - Human Rights Law § 296
                (As against All Defendants Individually and Collectively)



       103.    The Plaintiff repeats, reiterates and religious each and every allegation contained

in paragraphs 1 through 102 of this Second Amended Complaint with the same force and effect

as though fully set forth herein.

       104.    The New York State Executive Law § 296 which outlaws discriminatory practices

in places of public accommodation, states in relevant part:

               2. (a) It shall be an unlawful discriminatory practice for any person, being
       the owner, lessee, proprietor, manager, superintendent, agent or employee of
       any place of public accommodation, resort or amusement, because of the race,
       creed, color, national origin, sexual orientation, gender iden tity or expression,
       military status, sex, disability, marital status, or status as a vic tim of domestic
       violence, of any person, directly or indirectly, to refuse, withhold from or deny
       to such person any of the accommodations, advantages, facilities or privileges
       thereof, including the extension of credit, or, directly or indirectly, to publish,
       circulate, issue, display, post or mail any written or printed communication,
       notice or advertisement, to the effect that any of th e accommodations,
       advantages, facilities and privileges of any such place shall be refused, withheld
       from or denied to any person on account of race, creed, color, national origin,
       sexual orientation, gender identity or expression, military status, sex, disability
       or marital status, or that the patronage or custom thereat of an y person of or
       purporting to be of any particular race, creed, color, national origin, sexual
       orientation, gender identity or expression, military status, sex or marital status,
       or having a disability is unwelcome, objectionable or not acceptable, desired or
       solicited.
       105. On February 15, 2023 during a post season playoff basketball game at Lynbrook

High School between Roosevelt High School Boys Basketball Team and Lynbrook High School

Boys Basketball Team, a disturbance occurred.     Spectators along with people in the bleachers

inside the gymnasium of Lynbrook High School were spittin g on , b arking at, and chanting

racial names including but not limited to the word "nigger" at cheerleaders of Roosevelt High
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School.

       106.    While this behavior b y spectators and people in the bleachers was happening,

onlookers to these improper an d heinous acts, which included supervisory personnel from

Lynbrook High School did not intervene until staff from Roosevelt High School stressed to the

Lynbrook Athletic Director that the matter be dealt with.

       107.    To the contrary, with the exception of the expulsion of certain students from the

premises, repercussions have not been taken to address and prevent this level of abuse and

complete lack of "sportspersonship".

       108.    The racial comments an d actions of Spectators and people in the bleachers

endured by cheerleaders of Roosevelt High School were racist, demeaning, degrading, and

intended to intimidate and dehumanize the students from Roosevelt High School .

       109.    Following the incident that occurred at Lynbrook High School on February 15,

2023, the students of Roosevelt High School were again subjected to improper and racially

charged heinous acts.

       110.    On February 17, 2023, at Wantagh High School, the Roosevelt High School Boys

Basketball Team was competing in the second round post season playoff athletic competition.

       111.    When the players from Roosevelt Boys Basketball Team were introduced, a large

group of young white men dressed in white t-shirts and sweat-shirts stood up in the bleachers,

and started booing and, physically turned their back s to th e b asketball court as a sign of

disregard and disrespect., intimidating, making comments intending to demean Plaintiffs on

account of th eir race and color and otherwise physically creating fear of danger all of which

was directed toward Plaintiffs because of their race and color.
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       112.    Defendants knew Plaintiffs’ race and color and were aware or should have been

aware of Plaintiff's intent to enter into fully participation in all aspects of the activities at the

premises controlled by Defendan ts an d to receive the equal, fair and non-discriminatory

treatment and be treated equally and provided equal opportunity as Caucasian persons.

       113.    Plaintiff was denied full and equal accommodations, advantages, facilities and

privileges as provided by Defendants to others other then Plaintiffs.

       114.    As a consequence of Defendants' wrongful actions, callous indifference,

negligent behavior and violation of state and federal laws, Plaintiffs were intimidated, abused

and prevented from receivin g equal accommodations as provided to Caucasian persons and

was prevented from engaging in transactions and business on equal terms as C auc asian

persons. Instead Plaintiffs were subjected to abuse, threats, mental anguish, great fear,

embarrassment, personal humiliation, degradation and loss of the opportunity to engage in

the ability to engage in the sporting and other activities free of abuse, mistreatment and threats

related to their race and color. All of these rights are secured to Plaintiff under New York State

Human Rights Law § 296.

       115.    By reason of the foregoing, the Plaintiff has incurred dam ages in the sum in

excess of $2,000,000.00, plus punitive damages, costs, and attorney fees.

                           AS AND FOR A FIFTH COUNT
     AGAINST DEFENDANTS WANTAGH UNION FREE SCHOOL DISTRICT,
   LYNBROOK UNION FREE SCHOOL DISTRICT and NASSAU COUNTY PUBLIC
            HIGH SCHOOL ATHLETIC ASSOCIATION (Section VIII)
                        NEGLIGENCE/GROSS NEGLIGENCE
      116. Plaintiffs repeats, reiterates and religious each and every allegation contained

in Paragraphs "1" through "115" of the Complaint, inclusive, with the same full force and effect
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as if fully set forth herein.

           117.   During the time of the verbal and physical assaults upon Plaintiffs, Defendants

WUFSD, LUFSD, and NCPUSAS (Section VIII) had a special duty of care, to ensure the

protection and safety of the infant Plaintiffs/Students, an d to protect them from foreseeable

harm by other students.

           118.   The Defendants, WUFSD, LUFSD, and NCPUSAS (Section VIII) had a reckless

and negligent disregard for Plaintiffs, failed to properly supervise their studen ts, failed to

properly train teachers and staff as to methods of supervision, and thus provided the

opportunity for the Defendants' assailants to attack the Plaintiffs.

           119.   Defendants WUFSD, LUFSD, an d NC PU SAS (Section VIII) further breached

their duty of care to the infant Plaintiffs, by recklessly failing to provide proper and sufficient

security measures throughout their schools, and by failing to place security and/or teachers in

areas where students would be most vulnerable to a foreseeable harassment, attack, or violent

assault.

           120.   Defendants WUFSD, LUFSD, and NCPUSAS (Section VIII) created a dangerous

condition of property, by permitting violent students whom the school knew and/or should

have known had violent, and discriminatory propensities towards students of color including

the infant Plaintiffs herein.

           121.    The Defendants,   WUFSD, LUFSD, and NCPUS AS (S ec tion VIII) could

reasonably foresee that their breach of a duty of care to protec t the infant Plaintiffs would

result in their harm.
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        122.    As a direct and proximate cause of the aforesaid Defen dan ts' breach of their

duty of care to the infant Plaintiffs, said Plaintiffs did suffer serious emotional injuries,

psychological distress.

        123.    As a result of the above negligence and the consequent harm suffered by infant

Plaintiffs, Plaintiff seeks compensatory damages in the amount of TWO MILLION

($2,000,000.00) DOLLARS, and any other such relief as this Court may deem appropriate.




                         AS AND FOR A SIXTH COUNT:
                 NYS HUMAN RIGHTS LAW, N.Y. EXECUTIVE LAW § 296
                               (Disparate Impact)



        124.    Plaintiffs repeats, reiterates an d religious each and every allegation contained

in Paragraphs "1" through "123" of the Complaint, inclusive, with the same full force and effect

as if fully set forth herein.

        125.    Plaintiff and the Class plead, in the alternative, that Defendants are liable for

discrimination under the NYSHRL based on a disparate impact theory of liability.

        126.    Defendants' use of the existing hiring policies and procedures has h ad an

adverse impact on Plaintiffs

        127.    As a direct result of Defendants' discriminatory policies and/or practices as

described above, Plaintiff and the Class have suffered damages including, but not limited to,

emotional and mental distress and loss of self worth, embarrassment, hum iliation and other

damages not yet fully ascertained.

        128.    The foregoing policies, pattern, and/or practices have had an unlawful disparate
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impact on non-white applicants in violation of the NYSHRL.

       129.   Plaintiff and the Class request relief as hereinafter described.

                                    PRAYER FOR RELIEF




WHEREFORE, the following relief is requested:

1.     Certification of the case as a class action on behalf of the proposed Class;

2.     Designation of Plaintiffs Students 1 through 5 as representative of the Class;

3      Designation of Representative Plaintiff's counsel of record as Class Counsel;.

4       A declaratory judgment that the practices complained of herein are un lawful and
violate the Equal Protection Clause and the NYSHRL and other New York State Laws;

5   A declaratory judgment that D efendants' discriminated against Plaintiffs and Class
Members based on race and color;

6      A preliminary and permanent injunction against Defendants and their officers, agents,
successors, employees, representatives, an d any and all persons acting in concert with them,
from engaging in policies, patterns, and/or practices that discriminate against Plaintiffs or
Class Members based on their race and color or participation in this lawsuit;
"
7      An order that Defendants institute and carry out policies, practices, and programs that
provide equal employment opportunities for all employees regardless of race and color
 and that they eradicate the effects of their past and present unlawful racial practices;

8      An order requiring Defendants to develop and institute objective and validated
standards for addressing incidents of race and color based discrimination that will educate and
instruct their students, spectators, staff and others that do n ot have a disparate impact on
applicants on the basis of race and color;

9      An order appointing a monitor to ensure that Defendants comply with the injunction
provisions of any decree ordered by the Court;

10     An order retaining jurisdiction over this action to ensure that Defendants comply with
such a decree;

11     All damages sustained as a result of Defendants' c onduct, including damages for
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emotional distress, humiliation, embarrassment, and anguish, according to proof;

12     Costs incurred herein, including reasonable attorneys' fees to the extent allowab le by
law;

13     Pre-judgment and post-judgment interest, as provided by law; and

14     Such other an d further legal and equitable relief as this Court deems necessary, just,
and proper.

                                      JURY DEMAND

167.   Jury trial is requested on all matters triable to a jury.




Dated: Hempstead, New York
       May 15, 2024
                                                              Respectfully Submitted,

                                                              THE LAW OFFICES OF
                                                              FREDERICK K. BREWINGTON

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